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 2   Sacramento, California 95814
     Telephone: (916) 422-4022
 3
     Attorney for Jerad Maggi
 4
 5                        IN THE UNITED STATES DISTRICT COURT
 6                     FOR THE EASTERN DISTRICT OF CALIFORNIA
 7
 8
     UNITED STATES OF AMERICA,                 )   Case No.: 2:10-cr-00474-WBS
 9                                             )
                   Plaintiff,                  )   STIPULATION AND ORDER FOR
10                                                 CONTINUANCE OF JUDGMENT AND
                                               )   SENTENCING AND MODIFICATION
11          vs.                                )   OF SCHEDULE FOR PSR
                                               )
12                                             )
13   BRANDON HANLY, et al.,                    )   Date:    7/22/13
              Defendants.                      )   Time:    9:30 a.m.
14                                             )   Judge:   Hon. William B. Shubb
15                                             )
16
17          IT IS HEREBY STIPULATED BY AND AMONG ALL PARTIES that the
18   Judgment and Sentencing scheduled for May 13, 2013, at 9:30 a.m. is continued to July
19   22, 2013, at 9:30 a.m. in the same courtroom. The continuance is requested because
20   defense counsel needs additional time to prepare for the Pre-Sentence Report (PSR).
21   Jared Dolan, Assistant United States Attorney, and Thomas A. Johnson, Defendant’s
22   attorney, agree to this continuance.
23
24   IT IS SO STIPULATED.
25
     DATED: April 25, 2013                          By:     /s/ Thomas A. Johnson
26                                                          THOMAS A. JOHNSON
                                                            Attorney for Defendant
27                                                          JERAD MAGGI
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 1
     DATED: April 25, 2013                          BENJAMIN B. WAGNER
 2                                                  United States Attorney
 3                                            By:    /s/ Thomas A. Johnson for
                                                    JARED DOLAN
 4                                                  Assistant United States Attorney
 5
     IT IS SO ORDERED.
 6
     DATED: April 26, 2013
 7
 8
                                            _________________________________________
 9                                          WILLIAM B. SHUBB
                                            UNITED STATES DISTRICT JUDGE
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                        IN THE UNITED STATES DISTRICT COURT
26
                      FOR THE EASTERN DISTRICT OF CALIFORNIA
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                                                     )   Case No.: 2:10-cr-00474-WBS
 1   UNITED STATES OF AMERICA,                       )
                                                     )   MODIFICATION OF SCHEDULE FOR
 2                  Plaintiff,                       )   PRE-SENTENCE REPORT AND FOR
                                                     )   FILING OF OBJECTIONS TO THE PRE-
 3        v.                                         )   SENTENCE REPORT
     JERAD MAGGI,                                    )
 4                                                   )
                    Defendant.                       )
 5                                                   )
 6
      The Probation Officer and all parties shall adhere to this schedule unless it is later modified by
 7                                               this Court.

 8
     Judgment and Sentencing date:                                July 22, 2013
 9
10   Reply or Statement                                           July 15, 2013

11   Motion for Correction of the Pre-Sentence
12   Report shall be filed with the court and                     July 8, 2013
     served on the Probation Officer and opposing
13   counsel no later than:
14   The Pre-Sentence Report shall be filed with
15   the court and disclosed to counsel no later                  July 1, 2013            __
     than:
16
     Counsel’s written objections to the Pre-
17   Sentence Report shall be delivered to the                    June 24, 2013
18   Probation Officer and opposing counsel
     no later than:
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